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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JACIB GRATM individually and on behalf of
all others similarly situated,

                                   Plaintiff,
                 -against-                                              19 CIVIL 8528 (LJL)

                                                                  AMENDED JUDGMENT
WESCO AIRCRAFT HOLDING, INC., et al.

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Amended Opinion and Order dated April 16, 2020, Defendant’s motion to

dismiss the complaint in its entirety is granted without prejudice.



Dated: New York, New York

          April 17, 2020


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
